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                                                                                          __   '/_PL~G         .__        ._"
                                                                                         _.     .__!.}."I~m .' ... ,..


                       IN TIlE UNITED STA TES DISTRICT                 COURT FOR TIlE             01="(' i! ~~901j
                                          DISTRICT      OF MARYLAND                                 .
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UNITED STATES OF AMERICA                                   )
                                                           )
                  v.                                       )       Criminal   No. I'JM-I3-0121
                                                           )       Criminal   No. PJM-I2-0379
OLUWASEUN              SANYA,                              )
                                                           )
                             Dcfcndant.                    )



                                              ORDER OF FORFEITURE

        WHEREAS, the defendant, OLUW ASEUN SANY A, pled guilty pursuant to a written

plea agreement to Counts I and 2 of the Indictment in case number 1'11\1-13-0121, charging him

with access device fraud and aggravated identity theft, in violation of 18 U.S,C,              SS   1029(a)(2),

1028A; and to Count I of the Criminal Information in case number P11\1-12-0379, charging him

with conspiracy to commit access device fraud, in violation of 18 U.S.C              S   1029(b)(2);

        WHEREAS, pursuant to his plea agreements, the defendant agreed to forfeit to the United

States the proceeds of his offenses; and

        WHEREAS, the defendant agreed tD waive the prDvisiDns Dfthe Federal Rules of

Criminal Procedure II(b)(I)(J),           32,2, and 43(a) with respect tD nDtice in the Criminal

!nfDnnatiDn and the Indictment that the gDvernment will seek fDrfeiture as part Df any sentence in

this case, and agreed that entry Dfthis Order shall be made a part of the sentence in Dr Dut of the

presence Df the defendant and be included in the judgment in this case withDut further Order Df

the CDurt; and

        WHEREAS, on September 23, 2013, the court cDnducted a hearing pursuant tD Rule

32,2(b)(I) and determined that the amDunt the defendant is required tD fDrfeit as the proceeds of
 ,             ,"L-)
                         -   {   '1 I -, 8-1
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hIS offense    IS $                   t...-       ("the Subject Property");
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           NOW, THEREFORE,           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

 THAT:

           1. Pursuant to 18 U.S.c.     S 98 I(a)(1)(C),   18 U.S.C.   S 3554,   28 U.S.c.   S 2461(c),   and

 Rules 32.2(a) and 32.2(b)(1), Federal Rules of Criminal Procedure, the Subject Propel1y is

 hereby forfeited to the United States.

          2. Upon the entry of this Order, the Attorney General (or a designee) is authorized to

 seize the Subject Property whether held by the Defendant or by a third party, and to conduct any

 discovery proper in identifying, locating or disposing of the Subject Property in accordance with

 Fed. R. Crim. P. 32.2(b)(3).

          3. Upon entry of this Order, the Attorney General (or a designee) is authorized to

commence any applicable proceeding to comply with starutes governing third party rights,

including giving notice of this Order.

          4. In partial satisfaction of the money judgment, the defendant shall forfeit his right, title,

and interest in a black Range Rover HSE (VIN: SALMFI14X4AI58426),                      pursuant to 18 U.S.c.

S   981(a)(I)(C);   28 U.S.c.   S 2461(c);   and 18 U.S.c. 853(p).

          5. To the extent that the Subject Property includes specific property and is not solely a

judgment for a sum of money, the United States shall publish notice of the Order and its intent to

dispose of the Subject Property on the Government's           internet website, www.forfeiture.gov.         The

United States shall also provide written notice to any person who reasonably appears to be a

potential claimant with standing to contest the forfeiture in the ancillary proceeding. The notice

must describe the forfeited property, state the times under the applicable starute when a petition

contesting the forfeiture must be filed, and state the name and contact information for the

government attorney to be served with the petition. See Fed. R. Crim. P. 32.2(b)(6).

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         6. Any person, other than the abovc-named Defendant, asserting a Icgal interest in the

Subject Property may, within thirty days of the receipt of notice, or within 60 days of the first

publication of notice on the internet website, whichever is earlier, petition the court for a hearing

without a jury to adjudicate the validity of his alleged interest in the Subject Property, and for an

amendment of the order of forfeiture, pursuant to 21 U.S.c.          S 853(n)   and 28 USC.   S 2461 (c).
         7. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Order of Forfeiture shall become final as

to the Defendant at the time of sentencing and shall be made part of the sentence and included in

the judgment.      Ifno third party files a timely claim, this Order shall become the Final Order of

Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

         8. Any petition filed by a third party asserting an interest in the Subject Property shall be

signed by the petitioner under penalty of perjury and shall set fOlth the nature and extent of the

petitioner's    right, title, or interest in the Subject Property, the time and circumstances of the

petitioner's    acquisition of the right, title or interest in the Subject Property, any additional facts

supporting the petitioner's     claim and the relief sought.

         9. After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(I)(A)         and

before a hearing on the petition, discovery may be conducted in accordance with the Federal

Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.

         10. The United States shall have clear title to the Subject Property following the Court's

disposition of all third-party interests, or, if none, following the expiration of the period provided

in 21 U.S.C.     S 853(n)(2)   for the filing of third party petitions.

         J   I. The Court shall rctain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed. R. Criminal. P. 32.2(e).

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        12. The Clerk of the Court shall forward four certified copies of this order to Assistant

United States Attorney Sujit Raman, United States Attorney's Office, 6500 Cherrywood Lane,

Suite 200, Greenbelt, Maryland 20770.




Date:     /10'1/3.
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